Case 4:07-cv-05944-JST Document 1660-26 Filed 04/25/13 Page 1 of 4

Exhibit 70
Case 4:07-cv-05944-JST Document 1660-26 Filed 04/25/13 Page 2 of 4

Brian Luscher

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

Master File No.
This Document Relates to: CV-07-5944 SC

ALL INDIRECT PURCHASER ACTIONS MDL No. 1917

DEPOSITION OF

BRIAN LUSCHER

APRIL 25, 2012

9:00 A.M.

SEE

2929 North Central Avenue, Suite 2100

Phoenix, Arizona

SOMMER E. GREENE, CSR, RPR, CR No. 50622

US Legal Support
888-575-3376
Case 4:07-cv-05944-JST Document 1660-26 Filed 04/25/13 Page 3 of 4

24

25

Brian Luscher

Q. So the total that you paid out of pocket

was $594.54 --

A. That's right.
|

Q. —— for the television? :

A. Yes, that's right. Sorry.

Q. Did the Philips television come with a

manual or any other documents?

A. Yes, I recall that it did come with a
manual.

Q. Do you still have a copy of that manual?

A. No.

Q. Do you know what you did with it?

A. Yes.

Q. What did you do with it?

A. At some time subsequent to my purchase of

this, I gave the television to my daughter, along
with all of the’ manuals and paperwork.
Q. So you do not currently own this

television anymore?

A. No, I do not currently own it.
Q. You mentioned you gave it to your
daughter. Do you know whether the television is

still functioning?

A. I'm sorry?

QO. Do you know whether the TV is still

US Legal Support
888-575-3376
Case 4:07-cv-05944-JST Document 1660-26 Filed 04/25/13 Page 4 of 4

Brian Luscher

1 Q. Just again —-- ;
2 A. I'm sorry.
3 Q. Let's try and let me finish my question
4 before you answer.
:
5 A. Yes, I'm sorry.
6 Q. So just to clarify, you do not recall
7 specifically that the manual or the warranty :
8 information stated that there was a CRT inside the |
9 Philips television?
10 A. I don't recall for certain, no.
11 Q. Okay. Do you know who manufactured the
12 CRT you believe was inside the Philips television? /
13 A. No. :
:
iC
14 Q. Do you know whether Hitachi defendant /
|
15 manufactured the CRT that you believe was contained
16 in the television you purchased?
17 A. I don't know.
18 Q. Are you aware that there are other
19 manufacturers of CRTs other than the defendants that
20 are named in this case?
21 A. Yes.
22 Q. Is it possible that a company that is not
23 a defendant manufactured the CRT you believe is
24 inside the Philips television you purchased?
25 MS. RUSSELL: Objection. Calls for

US Legal Support
888-575-3376
